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10                             UNITED STATES DISTRICT COURT
11                            EASTERN DISTRICT OF CALIFORNIA
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13   ANDREW HOFFMAN, and those                       Case No. 2:24-cv-00952-DJC-JDP
     similarly situated,
14                                                    ORDER RE STIPULATED
                      Plaintiffs,                     REQUEST TO STAY CASE
15                                                    PENDING ARBITRATION
              v.
16                                                   Complaint Filed: March 27, 2024
     TRANSFORM SEARS HOME
17   SERVICES, LLC,
18                    Defendant.
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                    ORDER RE STIPULATED REQUEST TO STAY CASE PENDING ARBITRATION
     311264437v.2
             Case 2:24-cv-00952-DJC-JDP Document 10 Filed 06/28/24 Page 2 of 2


1             The Court, having considered the Parties’ Stipulated Request to Stay Case Pending
2    Arbitration, finding sufficient good cause shown for the requested relief, the Court hereby
3    orders:
4             1. The Parties shall commence arbitration of Plaintiff’s individual claims with
5                   JAMS in accordance with the terms of the arbitration agreement.
6             2. The Parties jointly request that this matter be stayed pending the completion of
7                   the arbitration.
8             3. The Court sets a status conference for _________________________ at
9                   ___________________ regarding the status of arbitration. The Parties are to
10                  submit a joint report to the Court at least 14 days prior to the status conference.
11            4. The Parties shall file a joint status report within one hundred eighty days (180)
12                  days, and every ninety (90) days thereafter, or within fourteen (14) days after
13                  completion of arbitration, advising the Court on the status of arbitration.
14
15            IT IS SO ORDERED.
16
17   Dated: June 28, 2024                                  /s/ Daniel J. Calabretta
                                                           THE HONORABLE DANIEL J. CALABRETTA
18
                                                           UNITED STATES DISTRICT JUDGE
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                [PROPOSED] ORDER RE STIPULATED REQUEST TO STAY CASE PENDING ARBITRATION
     311264437v.2
